Case 3:10-cv-03561-WHA Document 509-18 Filed 10/07/11 Page 1 of 3




                    EXHIBIT 2-6
     Case 3:10-cv-03561-WHA Document 509-18 Filed 10/07/11 Page 2 of 3

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1                 UNITED STATES DISTRICT COURT
2                 NORTHERN DISTRICT OF CALIFORNIA
3                    SAN FRANCISCO DIVISION
4
5     ________________________
6     ORACLE AMERICA, INC.,            )
7                 Plaintiff,           )
8           vs.                        ) No. CV 10-03561 WHA
9     GOOGLE, INC.,                    ) VOLUME I
10                Defendant.           )
11    ________________________)
12
13      HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
14
15          Videotaped Patent Issues Deposition
16          of JOHN C. MITCHELL, Ph.D., taken at
17          755 Page Mill Road, Palo Alto, California,
18          commencing at 9:43 a.m., Tuesday,
19          September 6, 2011, before Leslie Rockwood,
20          RPR, CSR No. 3462.
21
22
23
24
25    PAGES 1 - 270

                                                                         Page 1

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                                   EXHIBIT 2-6
         Case 3:10-cv-03561-WHA Document 509-18 Filed 10/07/11 Page 3 of 3

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 1         A. I believe it's important to have adequate and         1   11:59 a.m.
 2   attractive networking connections. Something that's not        2           You may proceed.
 3   state-of-the-art would probably impede -- stands to            3         Q. BY MR. PAIGE: Welcome back, Professor
 4   reason something that's not state-of-the-art may impede        4   Mitchell.
 5   sales.                                                         5         A. Thank you.
 6            As an additional factor, I just would point           6         Q. You say that the Oracle employees Landau,
 7   out that as far as I understand -- and it should be easy       7   Poore and Vandette conducted certain experiments at your
 8   to find more information about it -- there are various         8   direction; correct?
 9   manufacturers of wireless networking hardware, and one         9         A. I believe that's what it says in that report.
10   may be substitutable for another.                             10         Q. Why did you choose to use Oracle employees
11         Q. So having a 3G air interface or above is also        11   rather than an independent consulting firm?
12   the basis for consumer demand for Android products?           12         A. I believe that I asked if it was possible to
13         A. I think I've explained the importance of that        13   get someone to help with some kinds of experiments like
14   factor.                                                       14   that or perhaps someone asked me if I knew students, and
15         Q. Is it more or less important in the patents          15   I suggested that perhaps someone who works for Oracle
16   patents-in-suit, sir?                                         16   could be one possibility of doing that.
17         A. Well, one factor that comes to mind -- and           17         Q. Are there no consulting firms capable of
18   there may be others -- that would occur to me on              18   doing the type of work that those employees did?
19   reflection is that there is -- I believe a -- some degree     19         A. There may be. I didn't -- I didn't research
20   of substitutability across available networking hardware,     20   that.
21   whereas as I've laid out in this report, based on my          21         Q. Did you think it might be better to have
22   study and evaluation to the best that I'm able to do          22   someone independent rather than a partisan with a stake
23   this, it doesn't appear that there is reasonable              23   in the matter doing these experiments?
24   substitutability of another platform for the platform         24           MR. PETERS: Objection. Form.
25   that draws critically on the patents-in-suit.                 25           THE WITNESS: I didn't really even make that
                                                         Page 78                                                          Page 80

 1         Q. So in your opinion, the patents-in-suit are           1   judgment. It didn't strike me that this would be an
 2   more important than having a 3G air interface on an            2   issue where partisanship or opinion would have much
 3   Android device?                                                3   bearing on it. What I believe those engineers have done
 4         A. That's not what I said.                               4   is modify the system in various ways that's easily
 5         Q. Well, what is your opinion? Are the                   5   documented and run the system with certain measurements
 6   patents-in-suit more important or is having a 3G air           6   afterwards. I think the results there are probably
 7   interface more important?                                      7   concrete and can be evaluated objectively.
 8           MR. PETERS: Objection. Form.                           8         Q. BY MR. PAIGE: Did you design the experiments
 9           THE WITNESS: I believe that the -- and it              9   conducted by Landau, Poore and Vandette?
10   would be possible to look into this if this is an             10         A. I believe I did to a certain degree. That
11   absolutely critical issue, and maybe other people know        11   is, the experiments are to the -- as far as I recall,
12   more about it, but it strikes me that there are likely a      12   basically comparisons against the Android system or
13   number of different ways to assemble a phone with             13   components of it as it exists now versus some
14   adequate networking so that an individual chip to provide     14   modification. As far as I recall, those modifications
15   networking could be replaced with another, whereas as I       15   were modifications that I suggested.
16   think I tried to explain, I don't see that as being an        16         Q. Okay. So you're the one who came up with the
17   aspect of the patents-in-suit in the software technology      17   actual modifications they implemented; is that right?
18   at issue.                                                     18         A. At some degree of detail, I believe so.
19           MR. PAIGE: Okay. We need to take a break to           19         Q. Okay. You might not have done the actual low
20   change the tape, please.                                      20   level code, but you told them on a high level, "This is
21           THE VIDEOGRAPHER: This is the end of Disk             21   what I'd like you to do in order to carry out this
22   Number 1, Volume 1. We are off the record at 11:38 a.m.       22   experiment"?
23           (Recess.)                                             23         A. I don't remember the exact, you know, wording
24           THE VIDEOGRAPHER: This is the beginning of            24   of the discussion, but I believe I handled it the same
25   Disk Number 2, Volume 1. We are back on the record at         25   way I would with a graduate student. I want them to feel
                                                         Page 79                                                          Page 81

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                                                          EXHIBIT 2-6
